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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


DAVID BEHM,                                                    Case No. 2:10-cv-14460-LPZ-RSW
                                                               Hon.: Bernard A. Friedman
        Plaintiff,
v.

ODYSSEY, INC., a foreign Corporation,
and DON BROUSSARD, an Individual,
and PAUL MICHAJLYSZYN,
an Individual,

            Defendants.
________________________________/

    DEFENDANTS’ RENEWED MOTION UNDER FEDERAL RULE OF CIVIL
 PROCEDURE 50 FOR JUDGMENT AS A MATTER OF LAW AND/OR JUDGMENT
NOTWITHSTANDING THE VERDICT AND MOTION FOR NEW TRIAL PURSUANT
             TO FEDERAL RULE OF CIVIL PROCEDURE 59

        Defendants, by and through counsel, Garan, Lucow, Miller, P.C., and for their Renewed

Motion Under Federal Rule of Civil Procedure 50 for Judgment as a Matter of Law and/or Judgment

Notwithstanding the Verdict and Motion for New Trial Pursuant to Federal Rule of Civil Procedure

59, state as follows:

        1.      Plaintiff filed this case on November 8, 2010, asserting violations of Title VII of the

Civil Rights Act of 1964 (42 U.S.C. 2000e) and the Michigan Elliott Larsen Civil Rights Act (MCL

37.2201, et. seq.).

        2.      This matter came to trial before this Court on June 4, 2012. At the conclusion of the

Plaintiff’s proofs, the Defendants made motion for directed verdict or judgment as a matter of law

pursuant to Fed. R. Civ. P. 50(a) (See Dkt. No. 45). The Court took this motion under advisement

at that time.
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        3.     The jury returned a verdict on June 8, 2012, in favor of the Plaintiff and judgment was

entered on that date by this Court and filed with the Court on June 11, 2012.

        4.     Fed. R. Civ. P. 50(b) permits a party after a verdict has been rendered by a jury to file

a renewed motion for judgment as a matter of law and include in the motion a request in the

alternative for a new trial under Fed. R. Civ. P. 59.

        5.     The purpose of this renewed motion is to challenge the facts as found by the jury and

to raise purely legal challenges.

        6.     As presented at trial, there is no legally sufficient evidentiary basis for a reasonable

jury to find for the party on the issue of punitive damages, combined compensatory and punitive

damages as well as compensation for future non-economic damages.

        7.     Fed. R. Civ. P. 59(a)(1)(A) provides that this Court may on a motion grant a new trial

on all or some of the issues for any reason which the new trial has heretofore been granted in an

action at law in a federal court. In the alternative, the Court may also reduce a verdict that is found

excessive. See Linn v. United Plant Guard Workers of America, Local 114, 383 U.S. 53, 65-66 S.Ct.

1996.

        8.     A motion for new trial has been authorized by the Sixth Circuit when the jury has

reached a seriously erroneous result by the damages being excessive and/or the trial being unfair to

the moving party in some fashion. Mike’s Train House, Inc. v. Lionel, L.L.C., 472 F.3d 398, 405 (6th

Cir. 2006), Reh. Banc den. (2007).




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        WHEREFORE, the Defendants request this Honorable Court grant the motion for judgment

as a matter of law and enter judgment for the Defendants, including on the issue of excessive

compensatory damages pursuant to 42 U.S.C. §1981a.

                                                  GARAN LUCOW MILLER, P.C.

                                                   /s/ Timothy J. Jordan
                                                  Attorneys for Defendants
                                                  1000 Woodbridge Street
                                                  Detroit, MI 48207-3192
                                                  313.446.5531
Dated: July 6, 2012                               tjordan@garanlucow.com
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


DAVID BEHM,                                                     Case No. 2:10-cv-14460-LPZ-RSW
                                                                Hon.: Bernard A. Friedman
        Plaintiff,
v.

ODYSSEY, INC., a foreign Corporation,
and DON BROUSSARD, an Individual,
and PAUL MICHAJLYSZYN,
an Individual,

            Defendants.
________________________________/

     BRIEF IN SUPPORT OF DEFENDANTS’ RENEWED MOTION UNDER FEDERAL
      RULE OF CIVIL PROCEDURE 50 FOR JUDGMENT AS A MATTER OF LAW
     AND/OR JUDGMENT NOTWITHSTANDING THE VERDICT AND MOTION FOR
        NEW TRIAL PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 59

        Defendants, Odyssey Industries, Inc. and Donald Broussard rely upon the case law and

authority decided under Fed. R. Civ. P. 50(b), Rule 59, 42 U.S.C. §2000e and 42 U.S.C. §1981a and

relevant state law. Defendants further incorporate by reference the trial testimony and exhibits as

set forth in the trial transcript. Defendants also incorporate their oral and written motion for directed

verdict or judgment as a matter of law (Dkt. No. 45) submitted pursuant to Fed. R. Civ. P. 50(a) and

trial briefs filed in this matter. Defendants request, with the stipulation of opposing counsel having

been requested, the opportunity to file a supplemental brief expanding on the legal and factual

reasons supporting the motion as the necessary trial transcript, which has been ordered, has not yet

been obtained in full.




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        WHEREFORE, the Defendants request this Honorable Court grant the motion for judgment

as a matter of law and enter judgment for the Defendants, including on the issue of excessive

compensatory damages pursuant to 42 U.S.C. §1981a.

                                                  GARAN LUCOW MILLER, P.C.

                                                   /s/ Timothy J. Jordan
                                                  Attorneys for Defendants
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Dated: July 6, 2012                               tjordan@garanlucow.com
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 6, 2012, I electronically filed the foregoing document with the

Clerk of the Court using the ECF System which will send notification of such filing to the following:

Thomas Paxton, Joel Sklar and Karen Mendelson and I certify that I have mailed by U.S. Mail the

document to the following non-ECF participants: N/A

                                                      GARAN LUCOW MILLER, P.C.

                                                       /s/ Timothy J. Jordan
                                                      Attorneys for Defendants
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                                                      P46098




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